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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
MARION COSTER &                           )
      COSTER REALTY LLC,                  )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           )                     Case No. 18-cv-01995 (APM)
                                          )
STEVEN SCHWAT et al.,                     )
                                          )
      Defendants.                         )
_________________________________________ )

                                               ORDER

       Plaintiff Marion Coster is a one-half owner of Defendant UIP Companies, Inc. She and

her wholly owned corporation, Coster Realty LLC, have sued UIP, three of its directors

(“Individual Directors”), and various related entities in what is in part a shareholder derivative suit.

See Second Am. Compl. for Damages, Declaratory J., & Inj. Relief, ECF No. 48. Since the start

of the case, the law firm of Pillsbury Winthrop Shaw Pittman LLP (“Pillsbury”) has represented

UIP and the Individual Directors. Plaintiffs now seek to disqualify Pillsbury from continued

representation of UIP. Pls.’ Mot. to Disqualify Counsel, ECF No. 54 [hereinafter Pls.’ Mot.]. The

court must grant Plaintiffs’ motion.

        The long-settled rule in this Circuit is that, in a stockholder derivative suit, “the corporation

and the individual defendants [must] be separately represented.” Murphy v. Washington Am.

League Base Ball Club, Inc., 324 F.2d 394, 398 (D.C. Cir. 1963). “The corporation has certain

definite institutional interests to be protected, and the counsel charged with this responsibility

should have ties on a personal basis with neither the dissident stockholders nor the incumbent

officeholders.” Yablonski v. United Mine Workers of Am., 448 F.2d 1175, 1181 (D.C. Cir. 1971).
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Pillsbury here represents both UIP—the corporation with “definite institutional interests”—and

the “incumbent officeholders.” Under Murphy and Yablonski, Pillsbury cannot continue its

representation of UIP while at the same time representing the Individual Directors.

       Defendants’ efforts to avoid this result are unpersuasive. First, they argue that a different

rule is warranted when, as here, the derivative action is against a “closely-held corporation.” Defs.’

Opp’n to Mot. to Disqualify, ECF No. 58 [hereinafter Defs.’ Opp’n], at 5.                  “[S]pecial

considerations” are present in such a case, they say, that permit Pillsbury to represent both the

company and the Individual Directors. See id. at 5–7. But that is not the law in this Circuit.

Murphy itself involved a “closely-held corporation,” 324 F.2d at 396, and yet the Circuit still

required separate representation of the corporation and the individual defendants, see id. at 398.

The same is true here.

       Next, Defendants argue that separation is not required because Plaintiffs have not shown

any prejudice arising from Pillsbury’s concurrent representation. Defs.’ Opp’n at 7–9. That, too,

is not the law of this Circuit. Neither Murphy nor any other opinion of the D.C. Circuit requires a

plaintiff to make a showing of prejudice as a predicate to compelled separate representation. The

purported absence of such prejudice does not defeat Plaintiffs’ motion.

       Finally, Defendants argue that Plaintiffs’ request for disqualification comes too late. Defs.’

Opp’n at 9–10. Yablonski arose in an analogous setting involving concurrent representation of a

union and its officers.    There, the D.C. Circuit said that the “proper” time for concurrent

representation to end is after counsel “establish[es] the nature of the lawsuit by interrogatories and

filing answers on behalf of both the union and the individual officers in order fully to protect the

position of all parties.” 448 F.2d at 1182. Here, Defendants answered the Amended Complaint

on May 10, 2019. Answer, ECF No. 13. After an early round of summary judgment briefing, in



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which the court ruled in favor of Ms. Coster, discovery commenced on March 25, 2021. Order,

ECF No. 35. Plaintiffs appear to have answered UIP’s initial set of interrogatories in October or

November 2021. Pls.’ Reply in Supp. of Pls.’ Mot., ECF No. 62, at 13. Soon after, Plaintiffs

asked Pillsbury to withdraw as counsel to UIP (after having earlier raised the issue in both this

case and a related Delaware litigation). Pillsbury declined. Among other reasons, it asserted “it

is precisely the role of the Company’s counsel to determine the basis of any claims of wrongdoing

through discovery.” Pls.’ Mot., Ex. 2, ECF No. 54-2, at 5 (citing Yablonski). Plaintiffs then filed

this motion on November 24, 2021. See Pls.’ Mot. Under Yablonski, Plaintiffs’ filing of a

disqualification motion—after Defendants answered the complaint and Plaintiffs responded to

Defendants’ initial round of interrogatories—is not untimely.

       Defendants ask that if the court were to grant Plaintiff’s motion that it allow UIP to continue

in this action unrepresented to avoid incurring additional legal fees. Defs.’ Opp’n at 7 n.3. The

court cannot grant that request. “It has been the law for the better part of two centuries . . . that a

corporation may appear in the federal courts only through licensed counsel.” Rowland v. Cal.

Men’s Colony, 506 U.S. 194, 201–02 (1993). UIP therefore cannot proceed unrepresented.

       The court is mindful that disqualifying counsel is a “drastic measure” and “disfavored.”

In re Rail Freight Fuel Surcharge Antitrust Litig., 965 F. Supp. 2d 104, 110 (D.D.C. 2013)

(internal quotation marks and citation omitted). Nevertheless, the court is constrained by Circuit

precedent. It must disqualify Pillsbury from further representation of UIP.

       New counsel for UIP shall enter an appearance no later than April 25, 2022.




Dated: April 11, 2022                                         Amit P. Mehta
                                                       United States District Court Judge



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